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                    EXHIBIT G
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                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK

                   CASE NO. 15-CV-07433-RWS


------------------------------------------x
VIRGINIA L. GIUFFRE,


                                Plaintiff,
v.
GHISLAINE MAXWELL,
                                Defendant.


-------------------------------------------x


                                June 1, 2016
                                9:12 a.m.

                   C O N F I D E N T I A L
        Deposition of JOHN ALESSI, pursuant
        to notice, taken by Plaintiff, at the
        offices of Boies Schiller & Flexner, 401
        Las Olas Boulevard, Fort Lauderdale, Florida,
        before Kelli Ann Willis, a Registered
        Professional Reporter, Certified Realtime
        Reporter and Notary Public within and
        for the State of Florida.
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                                                                 Page 166
 1                                JOHN ALESSI
 2           Q.    Sure.    So let's talk about that a little
 3    bit.
 4                 I think 95 percent of the time you paid by
 5    check, correct?
 6           A.    By check, yes, sir.
 7           Q.    And that would be you writing the check?
 8           A.    Yes, sir.
 9           Q.    And there was a checkbook that you had
10    signing authority for, correct, that you could sign?
11           A.    Yes, sir.     It was Mr. Epstein in that
12    account, and I was in that account.
13           Q.    And that was at Palm Beach National Bank;
14    is that right?
15           A.    Yes, Palm Beach National Bank.
16           Q.    Okay.    And that's the check [sic] that you
17    would write checks out of to the massage therapists,
18    correct?
19           A.    Yes.
20           Q.    And I think you testified earlier that
21    some of the massage therapists would just kind of
22    keep a running list, right?
23           A.    Right.
24           Q.    And then at some point, they would have a
25    piece of paper, and they would say, Hey, I get paid
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                                                                 Page 174
 1                                JOHN ALESSI
 2          A.     I never got into the house.         I saw
 3    outside.     And I drove home.       I drove her to the
 4    apartment.     That's it.
 5          Q.     She was upset and crying about this,
 6    though?
 7          A.     Yes.
 8          Q.     The first time you saw her at Mar-a-Lago,
 9    you identified her as wearing a white uniform?
10          A.     Yeah, I remember her wearing a white
11    uniform.
12          Q.     It was a professional-looking uniform?
13          A.     I would say it was an old nurse's.           You
14    know, it was not pants, but one piece up to the
15    knees.     It was white and like...
16          Q.     Okay.    So it was like a knee-length skirt?
17          A.     Right.    Uh-huh.
18          Q.     And then covering the top was also white;
19    is that right?
20          A.     Yes.
21          Q.     Okay.    You were asked some questions about
22    photographs.      I think you testified that Ms. Maxwell
23    liked to take photographs?
24          A.     She did.
25          Q.     Do you recall her taking photographs of
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                                                                 Page 187
 1                                JOHN ALESSI
 2          A.     No.     We had -- they had like -- they sell
 3    that -- what was the name of the store?
 4          Q.     Brookstone?
 5          A.     Yeah, Brookstone.       It's a thing they use
 6    to go for the back and massage their back, massage
 7    their legs, with a long -- it had a head with moving
 8    parts on it.       That was it.
 9          Q.     All right.
10                 You talked a little earlier about getting
11    referrals from friends for massage therapists; do
12    you recall that?
13          A.     Yes, I did.
14          Q.     Okay.    So from time to time would the
15    friends of Mr. Epstein give --
16          A.     Referrals, yes.      They would refer somebody
17    for massages.
18          Q.     Tell me how that would come about, that
19    you would know about that?
20          A.     Because I was told to get this new girl,
21    get this from Mar-a-Lago.         This is from the Breakers
22    Hotel.     We used to get a lot of people from the
23    Breakers Hotel, the spa at the breakers.
24          Q.     But, for example, one of Mr. Epstein's
25    friends would say, I got a good message from this
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                                                                 Page 188
 1                                JOHN ALESSI
 2    person; I recommend her to you?
 3          A.     Yes, he would give to me the number.
 4          Q.     And most of the people, I take it, were
 5    from these spas or clubs; is that right?             Most of
 6    the massage people?
 7          A.     Yes.
 8          Q.     And do you know, did they have what I'll
 9    call regular day jobs at the spas, and then they
10    would come into Mr. Epstein's after?
11                 MR. EDWARDS:     Objection, speculation.
12                 THE WITNESS:     I think so.
13    BY MR. PAGLIUSCA:
14          Q.     Okay.   And why do you think so?
15          A.     Because they were working at the Breakers,
16    and sometimes I have to get in touch with these
17    people.     I used to call -- have to call the Breakers
18    or the Mar-a-Lago or the -- all the clubs.              There be
19    clubs, even in Boca Raton, the Boca Raton Resort and
20    Hotel.     They have a great spa.        I had to call these
21    people, Can you come in at 10:00 tonight?
22          Q.     You would know they were working there
23    because you would talk to them there?
24          A.     Yes.
25          Q.     I'm going to have you take a look at
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                                                                 Page 192
 1                                JOHN ALESSI
 2          A.     I remember it was extremely hot.
 3          Q.     It could have been August, it could have
 4    been September; is that right?
 5          A.     Yes.
 6                 MR. EDWARDS:     Object to counsel
 7          testifying.
 8    BY MR. PAGLIUSCA:
 9          Q.     It is fair to say that you don't really
10    know the date?
11          A.     I don't.    I don't.
12          Q.     Okay.    You saw Ms. Roberts, then, later
13    that day, and she was -- she came in through the
14    back door; is that correct?
15          A.     Yes.    The kitchen door.
16          Q.     All right.
17                 And you never spoke to either her mother
18    or her father; is that right?
19          A.     No, I never met him.
20          Q.     And you did not drive her home that day,
21    correct?
22          A.     No, sir.
23          Q.     And you don't recall her going upstairs
24    that day, do you?
25          A.     No, sir.
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                                                                 Page 200
 1                                JOHN ALESSI
 2                 THE VIDEOGRAPHER:       On the record at 1:36.
 3    BY MR. PAGLIUSCA:
 4          Q.     Just a few more questions, Mr. Alessi.
 5                 With regard to the ages of any of the
 6    people giving massages, most of them were over 20;
 7    is that correct?
 8          A.     Yes.
 9                 MR. EDWARDS:     Objection, argumentative.
10                 THE WITNESS:     Or they looked like.
11    BY MR. PAGLIUSCA:
12          Q.     You believed they would be over 20; is
13    that right?
14          A.     Yes, mostly.
15          Q.     And do you recall -- take a look at -- I
16    think it's Exhibit 3 maybe, at page 108, lines 1 and
17    2.
18                 Do you recall, when you were testifying
19    under oath in your continued deposition, which
20    occurred on September 8th, 2009, you were asked a
21    lot of age questions, correct?
22          A.     Yes.
23          Q.     And in response to one of those questions,
24    you said --
25                 MR. EDWARDS:     What page are we on?
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                                                                 Page 201
 1                                JOHN ALESSI
 2                 MR. PAGLIUSCA:      108, the top of the page,
 3           lines 1 through 3.
 4    BY MR. PAGLIUSCA:
 5           Q.    "Most of them were, I would say, over 20."
 6                 Do you remember giving that testimony?
 7           A.    Yes.
 8           Q.    And that was true then, correct?
 9           A.    Yes.    And it's true now.       I don't think it
10    was underage before I left, that I can remember.
11                 MR. PAGLIUSCA:      Okay.    Thank you.     I don't
12           have any further questions at this point.
13                  F U R T H E R        E X A M I N A T I O N
14    BY MR. EDWARDS:
15           Q.    Sir, let me pick up right where we left
16    off, page 107 through 108.
17           A.    Yes, sir.
18           Q.    So if you read the whole sentence that
19    wasn't just read to you, it says, "They could have
20    being 16 or 20.       Most of them, I would say, over
21    20."
22                 Do you remember giving that testimony?
23           A.    Okay.    The girls appear, they appeared to
24    be very young.       Again, the same question you asked.
25    Everyone asked me the same thing.           They could be 16
